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            Exhibit G
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         MT: Need to be careful what we share here ... no doubt that 2020 plan we should pursue and not pursue
         in the current environment... yes, that is all being discussed.

         RC: Do you have the team in place to rationalize the business that significantly from an SGA standpoint?

         MT: We have the team and partnership in place ... yes. This isn't about shaving your direct reports
         down ... this is a bottoms up exercise ...

         HE: also the outside in and SG&A benchmark vs. our peers (and our legacy)- two tier effort on
         immediate as well as structural ... underway but can't be communicated.

         RC: Do you foresee any changes at the executive team or board in order to rationalize the business?

         MT: Not at liberty to say at this point.

         HE: Board level ... going down by 3 directors as previously indicated to be revealed shortly.

         RC: How do you feel about the balance sheet? Is it safe to assume we're in for more operating losses?

         MT: Not at liberty to say at this point. But, again, pressure on inventory and sales is a jam for everyone ...

         RC: Do you have a better handle on inventory held up in transit?

         MT: Absolutely ... get better flow and better clarity which we'll provide when we release results.

         HE: And the board is monitoring it very frequently with management... absolutely inventory, cash,
         SG&A ...

         RC: So is the company going to be putting out a new plan in terms of SG&A and Capex vs. the October
         2020 plan.

         MT: We'll be sharing our thoughts on now, next, future on June 29 th ...

         RC: So how do you currently feel about the balance sheet?

         GA: A few things (already disclosed) -- Q1 is expected to be a loss and expected by the market with
         EBITDA in wide ranges contemplated by the market; key on balance sheet is getting into sustainable
         operating cash flow generation with key on inventory management... similar narrative across many
         retailers ... cash flow generation challenges given inventory purchases and mismatch. Balance sheet
         insurance is ABL ($1B) liquidity ...

         HE: Given company's legacy, we are attuned to have more cash ...

         RC: Drawing down the ABL should only be done in a severe, catastrophic situation ... feels like there are a
         lot of steps that could be taken to conserve cash besides drawing down on the ABL ... cutting capex,
         reducing SG&A, turning inventory faster ...




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